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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

JANE DOE, JOHN DOE 1, JOHN DOE 2,                )
and JOHN DOE 3, individually and                 )
on behalf of all other                           )
students similarly situated,                     )
                                                 )      Case. No. 1:24-cv-04125-JRB-JC
                                                 )
                             Plaintiffs,         )      Honorable John Robert Blakey
                                                 )
v.                                               )
                                                 )
NORTHWESTERN UNIVERSITY                          )
                                                 )
                                                 )
                             Defendant.          )


                  CONSOLIDATED CLASS ACTION COMPLAINT

       Plaintiffs, for their consolidated class action complaint against Northwestern

University (“Northwestern”), state as follows:

                                     INTRODUCTION

       1.     In exchange for receiving federal funds, Northwestern is required to comply

with Title VI, which requires Northwestern to refrain from discriminating against or

tolerating harassment of members of protected classes. This includes a duty to protect

Jewish students from antisemitic harassment which interferes with or limits their ability

to participate in or benefit from the services, activities, or opportunities offered by the

school. And, certainly, Northwestern may not encourage antisemitism while also

receiving federal dollars.

       2.     For certain protected classes, Northwestern takes this obligation very

seriously. For instance, when, in Spring 2019, students reported seeing on campus three

stickers and a handwritten note with the message “It’s okay to be white,” Northwestern
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immediately sprang into action, recognizing this as a white supremacist dog-whistle. It

indicated it took “such incidents seriously, and will investigate thoroughly.” It took care

to note that while “to some, the expression may seem harmless and legitimate on the

surface,” “for that very reason, it has been adopted in recent years by white-supremacists

and neo-Nazi groups as a means to divide communities and harass many of their

members.” It filed police reports, worked closely with local authorities, and implored

“whoever is doing this to stop.” Northwestern steadfastly claimed it would “not tolerate

such acts of hate occurring at Northwestern and causing any members of our community

to feel unsafe or singled out for discrimination.”1 In the wake of Northwestern’s staunch

opposition to these messages, the harassing notes ceased.

        3.      Northwestern was similarly vehement in opposing anti-black racism and

police brutality in the aftermath of George Floyd’s death. It announced to its community,

clearly and unequivocally, “we vehemently oppose anti-blackness and police brutality. It

should not be a controversial or a political statement to declare that Black Lives Matter.

We promise to work, as individuals and as an institution…to identify and address all forms

of implicit and explicit racism and bias on our campuses.”2

        4.      In outlining     its various commitments to             eradicate racism and

discrimination, Northwestern promised its community that: “Words are nothing

without actions, and we pledge to act decisively to uphold the standards of this




1 https://news.northwestern.edu/stories/2019/04/university-condemns-acts-of-

hate/#:~:text=The%20Northwestern%20Police%20Department%20can,Center%20on%20the%20Evanst
on%20Campus (last accessed July 29, 2024).

2 https://www.northwestern.edu/leadership-notes/2020/commitments-toward-social-justice.html (last

accessed July 29, 2024).

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university and to ensure that each of its members is treated with the dignity and respect

that we all deserve.” Id.

        5.      Northwestern also claims to pursue an inclusive learning environment. Its

Principles of Inclusive Teaching, issued by the Office of the Provost in August 2021, warn

faculty that they “should avoid implicitly centralizing one or two token perspectives,” and

should avoid “microaggressions” which “negatively affect students,” and “reveals the

biases and prejudices of the transgressor and severely affects the experience of the student

who experiences it.”3

        6.      But for all this apparent energy to stamp out racism against certain minority

groups, Northwestern’s zeal fades when its Jewish students are singled out for blatant

discrimination and harassment. Instead, Northwestern has tolerated, normalized, and

institutionalized antisemitism in campus life.

        7.      This comes in the form of tolerating the day-to-day harassment of Jewish

students – most recently and prominently, in the “encampment on Deering Meadow”

which President Schill admitted was a “major antisemitic event on campus,” and also

comes in the form of Northwestern’s overall intentionally and institutionally lax approach

to its own policies when it comes to Jewish students – which is, in and of itself,

discriminatory.

        8.      The university’s institutionally soft approach to one particular kind of

hatred is animated by the public conduct of many Northwestern employees, including

many at Northwestern’s satellite campus in Qatar, where Northwestern partners with the

Qatari government – the same entity that supports Hamas and pumps antisemitic


3 https://searle.northwestern.edu/docs/inclusive-teaching.pdf (last accessed July 29, 2024).




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propaganda worldwide as a matter of state policy. Northwestern’s faculty and staff in

Evanston and Qatar openly promote violence against Jews and peddle antisemitic

rhetoric on campus; this fosters a hostile and discriminatory environment on

Northwestern’s Evanston campus for its Jewish students.

       9.     Northwestern’s discriminatory approach to addressing antisemitism is also

on display in its historically permissive attitude to student organizations such as Students

for Justice in Palestine (“SJP”), who flout university rules and promote Hamas ideology

and call for violence at the expense of Jewish students without any consequence.

Unsurprisingly, these same student groups took advantage of Northwestern’s lawless

approach to Jew-hatred on campus following Hamas’ October 7th terror attack in Israel.

       10.    What has unfolded at Northwestern is a toxic blend of apathy towards

campus harassment of Jewish students, and an institutionally discriminatory approach

to enforcing Northwestern’s written policies when hatred of Jews is at issue.

Northwestern’s institutional tolerance for the promotion of hatred, violence, and

discrimination against its Jewish students is incompatible with its receipt of taxpayer

dollars via federal funding, and flatly violates Title VI.

       11.    Northwestern’s discriminatory non-enforcement of its policies also

constitutes a breach of its contract to Plaintiffs. In exchange for paying tuition, Plaintiffs

expected Northwestern to fulfill a modest core promise it made to them and all other

similarly situated, tuition-paying students: the conduct of your student peers and faculty

will be governed by rules, and – once you enroll – you will be free to safely move about

and avail yourself of our campus in accordance with those rules.

       12.    The events of the past academic year, described below, laid bare

Northwestern’s gross breach of these promises. Rather than conduct the business of the

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campus in accordance with the clear rules of conduct that everyone signed up for,

Northwestern ignored those rules, opting instead to facilitate, coddle, and ultimately

reward the participants of the “encampment on Deering Meadow” – a gathering of

Hamas-supporting students, faculty, and outsiders beating a constant drum of anti-

Jewish hatred and violence for days and days on the school’s central lawn.

       13.    In its apathy towards enforcing rules for the benefit and protection of its

Jewish students (while apathetic to no other protected group), Northwestern tramples on

Plaintiffs’ civil and contractual rights. This lawsuit seeks to remedy that.

                                         PARTIES

       14.    Jane Doe is a Jewish graduate student at Northwestern. She lives in

Evanston, Illinois near the Northwestern campus.

       15.    John Doe 1 is a Jewish first-year undergraduate student at Northwestern.

He lives on campus in Evanston, Illinois.

       16.    John Doe 2 is a Jewish graduate student at Northwestern’s Kellogg School

of Business. He lives in Evanston, Illinois near the Northwestern campus.

       17.    John Doe 3 is a Jewish graduate student at Northwestern’s Weinberg

College of Arts & Science. He lives in Chicago, Illinois near Northwestern’s campus.

       18.    Northwestern University is one of the county’s top private, not-for-profit,

research and teaching universities. Its main campus is in Evanston, Illinois. Its only

satellite campus abroad is in Doha, Qatar. Northwestern receives substantial direct

federal assistance and indirect federal assistance through, among other things, tuition

paid with federal financial aid.




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         19.   On information and belief, Northwestern has 1,200 Jewish undergraduate

students, representing 14% of the undergraduate student body, and 1,000 Jewish

graduate students, which represent 7% of the graduate student body.4

                                 JURISDICTION & VENUE

         20.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because Plaintiffs bring suit under Title VI of the Civil Rights Act. This Court has

supplemental jurisdiction over Plaintiff’s breach of contract claim pursuant to 28 U.S.C.

§ 1367(a) because it arises out of the same case or controversy as Plaintiff’s federal claim.

         21.   This Court has personal jurisdiction over Northwestern because it is based

and operates in Evanston, Illinois.

         22.   Venue over this dispute is proper in the Northern District of Illinois

pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events and omissions

giving rise to this claim occurred in the Northern District of Illinois.

                                        BACKGROUND

Hamas and the current wave of antisemitism at Northwestern

         23.   Antisemitism is a repugnant form of bigotry that is no better or worse than

any other form of bigotry based on race, religion, national origin, ethnic identity, sex, or

any other classification protected by law. Yet antisemitism is somewhat unique in that it

is a shapeshifting form of hatred that morphs depending on the time, place, and historical

moment in which its ugliness appears.




4 https://www.adl.org/campus-antisemitism-report-card/northwestern-university (last accessed July 29,

2024).


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         24.      Pursuant to Executive Order 13899, titled: “Combating Anti-Semitism,”5

issued on December 11, 2019, the U.S. Department of Education (“DOE”) must consider

the International Holocaust Remembrance Alliance’s (“IHRA”)6 working definition of

antisemitism when enforcing Title VI.

         25.      The IHRA defines antisemitism as “a certain perception of Jews, which may

be expressed as hatred toward Jews. Rhetorical and physical manifestations of

antisemitism are directed toward Jewish or non-Jewish individuals and/or their

property, toward Jewish community institutions and religious facilities.”7

         26.      According to the IHRA definition, antisemitism includes “the targeting of

the state of Israel, conceived as a Jewish collectivity,” when it involves:

               a. “Calling for, aiding, or justifying the killing or harming of Jews in the name
                  of a radical ideology or an extremist view of religion.”

               b. “Making mendacious, dehumanizing, demonizing, or stereotypical
                  allegations about Jews as such or the power of Jews as collective — such as,
                  especially but not exclusively, the myth about a world Jewish conspiracy or
                  of Jews controlling the media, economy, government or other societal
                  institutions.”

               c. “Accusing Jews as a people of being responsible for real or imagined
                  wrongdoing committed by a single Jewish person or group, or even for acts
                  committed by non-Jews.”

               d. “Accusing Jewish citizens of being more loyal to Israel, or to the alleged
                  priorities of Jews worldwide, than to the interests of their own nations.”




5https://www.presidency.ucsb.edu/documents/executive-order-13899-combating-anti-semitism     (last
accessed May 13, 2024); https://www2.ed.gov/about/offices/list/ocr/docs/qa-titleix-anti-semitism-
20210119.pdf (last accessed May 13, 2024).

6 The IHRA is comprised of 35 Member Countries, including the United States, United Kingdom, Canda,

Australia, Austria, Germany, France, Italy, Israel, and Poland.

7 https://holocaustremembrance.com/resources/working-definition-antisemitism (last accessed May 13,

2024).


                                                     7
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              e. “Denying the Jewish people their right to self-determination, e.g., by
                 claiming that the existence of a State of Israel is a racist endeavor.”

              f. “Applying double standards by requiring of it a behavior not expected or
                 demanded of any other democratic nation.”

              g. “Using the symbols and images associated with classic antisemitism (e.g.,
                 claims of Jews killing Jesus or blood libel) to characterize Israel or Israelis.”

              h. “Drawing comparisons of contemporary Israeli policy to that of the Nazis.”

              i. “Holding Jews collectively responsible for actions of the state of Israel.”

        27.      Though antisemitism has been an ever-present and growing problem on

Northwestern’s campus for several years (see infra ¶¶ 137-160), the hatred towards

Jewish students on campus exploded in the wake of Hamas’ October 7th terror attack in

Israel, in which it murdered, kidnapped, raped, and mutilated thousands of civilians. As

detailed below, the hatred, violence, and discrimination Jews have recently faced at

Northwestern is wrapped up in, and must be understood within the context of, Hamas’

global campaign of terror and hatred against Jews.

        28.      Hamas, an acronym for Harakat al-Muqawama al-Islamiya (Islamic

Resistance Movement), is a designated terror organization8 that is explicitly dedicated to

murdering Jews worldwide. Its founding charter plainly states: “Our struggle against the

Jews is very great and very serious. It needs all sincere efforts…The Movement (Hamas)

is but one squadron that should be supported by more and more squadrons from this vast

Arab and Islamic world, until the enemy is vanquished and Allah’s victory is realized.”9


8 On October 8, 1997, the U.S. State Department designated Hamas a Foreign Terrorist Organization

(“FTO”). https://www.dni.gov/nctc/ftos/hamas_fto.html (last accessed May 13, 2024);
https://www.state.gov/foreign-terrorist-organizations/ (last accessed May 13, 2024).

9 https://avalon.law.yale.edu/20th_century/hamas.asp (Hamas Covenant 1988) (last accessed July 29,

2024). Other parts of Hamas’ charter state: “The Day of Judgment will not come about until Moslems
fight Jews and kill them;” and “[Hamas] consider[s] itself to be the spearhead of the circle of struggle with
World Zionism... Islamic groups all over the Arab world should also do the same, since they are best
equipped for their future role in the fight against the warmongering Jews.”

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        29.     Hamas’ leadership have repeated this objective time and again. Of the

abundant examples, a member of Hamas’ political bureau, Fathi Hammad, called for the

slaughter of Jews wherever they can be found10, and recommends decapitating Jews with

knives11:




        30.     Its foot soldiers also make clear that Hamas’ goal is to murder Jews

worldwide. As one of its terrorists threatened at a Hamas press conference12:




10 https://www.memri.org/tv/hamas-political-bureau-fathi-hammad-explosive-belts-knives-slaughter-

kill-jews-all-over-world-israel-one-week-ultimatum (last accessed July 29, 2024).

11https://www.memri.org/tv/snr-hamas-official-fathi-hammad-urges-people-jerusalem-cut-off-heads-

jews-knives-day-reckoning-moment-destruction (last accessed July 29, 2024).

12 https://palwatch.org/page/569 (last accessed July 29, 2024).




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        31.     Hamas’ religious preachers share the same message. Just months before

Hamas’ October 7th terror attack, Hamas’ Sheikh Hamad Al-Regeb, shared the following

at a Friday sermon in Rafah, Gaza13:




        32.     Hamas acted out its desire to kill all Jews on October 7th when it stormed

into Israel (the only Jewish state on earth) and slaughtered, tortured, and raped civilians




13https://www.memri.org/tv/rafah-gaza-friday-sermon-hamas-official-regeb-allah-necks-jews-

annihilate-them (last accessed July 29, 2024).

                                                 10
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mercilessly. As one Hamas terrorist gloated to his parents by phone, still panting from his

killing spree: “Your son killed Jews! […] Dad, I’m talking to you from a Jewish woman’s

phone. I killed her and I killed her husband. I killed ten with my own hands! […] Mom

your son is a hero! Kill, kill, kill, kill them!”14

        33.     As President Biden has noted, Hamas is “a group whose stated purpose for

being is to kill Jews.”15

        34.     Hamas is thus an anti-Jewish hate group in addition to being a terrorist

organization.

        35.     Unfortunately, Northwestern doesn’t seem to appreciate the gravity of this.

Instead, it tolerates individuals dressed in Hamas attire roaming its property and

harassing Jews; allows Hamas supporters to torment Jewish students for days on campus,

then offers them perks if they promise to stop; and hires and retains faculty who call for

violence against Jews and openly support Hamas, all while receiving federal funding and

promising to not tolerate discrimination or harassment in any part of its educational

program.

Northwestern faculty and staff across campuses embrace Hamas and call
for violence against Jews without consequence

        36.     Incidentally, the only satellite campus Northwestern maintains outside of

Illinois is located in Qatar’s “Education City,” a glitzy pop-up campus created by the

Qatari government to host a handful of satellite branches of prestigious U.S. universities,

who lend their institutional support and reputational gravitas to these outposts, in


14https://www.timesofisrael.com/idf-publishes-audio-of-hamas-terrorist-calling-family-to-brag-of-

killing-jews/ (last accessed July 29, 2024).

15https://www.whitehouse.gov/briefing-room/speeches-remarks/2023/10/10/remarks-by-president-

biden-on-the-terrorist-attacks-in-israel-2/ (last accessed July 29, 2024).


                                                     11
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exchange for large sums of money. Qatar has paid Northwestern hundreds of millions of

dollars for this privilege, at least $7 million per year of which is spent by Qatar directly for

Northwestern’s Evanston campus.16

       37.     Northwestern’s satellite campus is called “Northwestern Qatar,” sometimes

referred to as “NU-Q” (while the Evanston campus is marked “NU-E”). Northwestern and

Qatar pursue a deep and intertwined relationship between students, faculty, and staff of

the two campuses.

       38.     NU-E maintains a Qatar Support Office (“QSO”), which is “the Evanston

campus administrative resource for Northwestern University in Qatar's faculty, staff, and

students.”17 The QSO collaborates “with NU-Q leadership and partners across

Northwestern” to “promote[] strong academic, operational, and other connections

between campuses.”18 Northwestern touts its QSO as “represent[ing] NU-Q’s interests in

Evanston” by “provid[ing] a direct line of intercampus communication.”

       39.     Northwestern established an exchange program for NU-E students to “visit

their Wildcat counterparts in Doha” for entire semesters, spring break, and residencies.19

Northwestern’s administration promotes NU-Q on its Evanston campus in multiple ways,

including by hosting a series of lectures and presentations (such as presentation titled:



16 https://dailynorthwestern.com/2024/05/24/campus/qatar-foundation-releases-statement-after-

congressional-hearing/ (“[Qatar Foundation] clarified that it pays NU about $70 million each year, 90%
of which goes to covering the costs of operating NU-Q, such as faculty salaries and student operations,
according to the statement. The remaining 10% is sent to NU’s Evanston campus to cover “administration
costs.”) (last accessed August 2, 2024).

17 https://www.northwestern.edu/qatar-support/ (last accessed August 2, 2024).


18 https://www.northwestern.edu/qatar-support/about/ (last accessed August 2, 2024).


19 https://news.northwestern.edu/stories/2013/03/spring-break-in-nu-q/ (last accessed August2, 2024);

https://www.qatar.northwestern.edu/news/articles/2016/10-evanston-exchange.html (last accessed
August 2, 2024).


                                                  12
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“NU-Q in Evanston”) where members of the Doha campus come to showcase the

“Northwestern Experience in Qatar” to Evanston campus students and faculty.20

Likewise, NU-Q students are invited to join the NU-E campus through various exchange

programs.21

        40.     Similarly, NU-E faculty are frequently appointed as visiting professors at

NU-Q for a semester, and vice versa, which is facilitated through NU-E’s QSO.

        41.     Many Northwestern Evanston students, such as Plaintiffs, are not welcome

at Northwestern Qatar, as Jews and other non-Muslims are not permitted to publicly

worship in Qatar.22

        42.     Significantly, Qatar sponsors Hamas financially and harbors Hamas

leadership.23 Qatar “has been known to be perhaps the largest financial patron of Hamas”

and “harbor[s] Hamas figurehead Khaled Meshaal,” among other Hamas leaders.24




20 https://news.northwestern.edu/stories/2015/05/nuq-in-evanston-highlights-student-

accomplishments/ (last accessed August 2, 2024); https://www.northwestern.edu/qatar-
support/visiting-qatar/ (last accessed August 2, 2024).

21 https://www.gulf-times.com/story/492760/nu-q-participates-in-home-campus-event-in-evanston (last

accessed August 2, 2024).

22https://travel.state.gov/content/travel/en/international-travel/International-Travel-Country-

Information-Pages/Qatar.html (“Public worship by non-Islamic faiths and atheism are illegal and subject
to prosecution.”) (last accessed July 29, 2024).

23 On August 2, 2024, the Emir of Qatar, Sheikh Tamim Bin Ahmad Aal Thani, sat at the front row of the

funeral of assassinated Hamas leader Ismail Haniyeh, who was buried in the Qatari capital of Doha that
day. https://www.jpost.com/middle-east/article-813041 (last accessed August 2, 2024).

24 See Hamas’ Benefactors: A Network Of Terror: Hearing before Subcommittee on the Middle East and

North Africa, Subcommittee on Terrorism, Nonproliferation, and Trade, and Committee on Foreign
Affairs (Serial No. 113-213), 113th Cong (2014), available at
https://www.govinfo.gov/content/pkg/CHRG-113hhrg89738/html/CHRG-113hhrg89738.htm (last
accessed May 13, 2024).


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Qatar’s foreign ministry even stated on October 7th that “Israel [was] solely responsible”

for Hamas’ atrocities.25

        43.      Not surprisingly, then, faculty and staff at Northwestern Qatar call for

violence against Jews and support Hamas, consistent with the Qatari government.

        44.      For example, Northwestern Qatar’s Assistant Director of Communications

and    Public     Affairs     (https://www.qatar.northwestern.edu/directory/profiles/rageh-

abrara.html) has publicly posted:




        45.      This rallying cry is shorthand for the phrase “khaybar khaybar, ya Yahud

(oh Jews)!” which is a call for violence against Jews via reference to a Muslim army’s

seventh-century massacre of Jews in the middle east.26 “Intifada time” (especially when

juxtaposed to Khaybar Khaybar and #Israel) similarly refers to violence against Jews

and Israelis, as most famously in the “Second Intifada” which was a four-year wave of

suicide bombings and other terror attacks in Israel (many perpetrated by Hamas) from

the years 2000-2004.27


25 https://mofa.gov.qa/en/statements/qatar-expresses-concern-over-the-developments-in-gaza-strip-

and-calls-for-de-escalation (last accessed August 2, 2024).

26 https://en.wikipedia.org/wiki/Khaybar_Khaybar_ya_yahud (last accessed July 29, 2024).


27 The term “intifada” translates to “shaking off” or “uprising” in Arabic, and, in the context of Palestinian

terror, is most closely associated with two specific periods during which Hamas and other terrorist groups
engaged in a string of terror attacks against Israelis from December 1987 to September 1993 (the “First
Intifada”), and September 2000 to late 2005 (the “Second Intifada”).

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        46.     In addition to publicly calling for violence against Jews, this Northwestern

leader, responsible for “communications and public affairs,” has also publicly celebrated

the founder of Hamas, Sheik Ahmed Yasin, who was the architect of Hamas’ terrorism

and created the organization to, in his own words, “enter into confrontation with the

Jews.”28 Northwestern Qatar’s Assistant Director of Communications and Public Affairs

implores the public to “Never Forget” him:




        47.     Northwestern       Qatar’s     Professor     in   Residence,      Khaled     AL-Hroub

(https://www.qatar.northwestern.edu/directory/profiles/al-hroub-khaled.html)                        also



https://www.britannica.com/topic/intifada (last accessed July 29, 2024);
https://www.brookings.edu/articles/the-oslo-accords-at-25-the-second-intifada-at-18/ (last accessed
July 29, 2024). The terrorist methods used during these two Intifadas included suicide bombings,
shootings, stabbings, and rocket barrages all aimed against civilians. As one example, on June 1, 2001, a
Hamas suicide bomber killed 20 civilians, mostly teenage girls, waiting to enter a teen dance club called
the Dolphinarium Discotheque in Tel Aviv. https://www.jpost.com/israel-news/20th-anniversary-of-the-
infamous-dolphinarium-disco-terror-attack-669853 (last accessed July 29, 2024). On May 1, 2024, the
White House issued a statement explaining that “the use of the term ‘intifada’” is “tragic and dangerous
hate speech.” https://www.cnn.com/business/live-news/university-protests-palestine-04-30-
24/h_ebd5ad0bd15bfdc20c573ba170ed973f (last accessed August 2, 2024).

28 https://www.aljazeera.net/videos/2023/12/17/%D8%A7%D9%84%D8%B4%D9%8A%D8%AE-

%D8%A3%D8%AD%D9%85%D8%AF-%D9%8A%D8%A7%D8%B3%D9%8A%D9%86-
%D9%8A%D8%AA%D8%AD%D8%AF%D8%AB-%D8%B9%D9%86-
%D8%AA%D9%81%D9%83%D9%8A%D8%B1%D9%87-%D9%81%D9%8A?playlist=6125126 (interview
summary, as translated) (last accessed July 29, 2024).


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publicly glorifies Hamas terrorists who have killed or attempted to kill Jews, including

the planner of a civilian bus hijacking where two passengers were executed; a terrorist

who stabbed two teenagers in Jerusalem; a Hamas operative involved in the drive-by

shooting of a rabbi; and an unsuccessful but attempted suicide bomber who disfigured

her own face during the failed detonation.29

        48.     He and his friends publicly celebrated Hamas’ October 7th terror attack.30

        49.     Three days later he called for a Third Intifada to begin in the West Bank

which he said would “flip the equation and sweep away the occupier” (i.e. the Jews).31

        50.     He not only celebrates Hamas and calls for and glorifies violence against

Jews, he also publicly advocates for and strategizes about how Hamas can rebrand itself

under a new name and identity without changing its character. He has emphasized “the

need for creative ideas by everyone to get out of the predicament” of Hamas’ Western-

facing reputation as a terror organization.32




29https://www.facebook.com/ThingsHappenx/posts/pfbid02FGLX5BzNxFMTiVPDVn4uzVzNnEjjrga3iX

a7kxHBnSV1MSxuoH487QnPYeV1ovWel (glorifying planner of “Mothers’ Bus Attack” – a 1988 hijacking
of civilian bus (mostly filled with working mothers) where three civilians were killed) (last accessed July
29, 2024); https://www.facebook.com/ThingsHappenx/posts/10155519112165718 (glorifying terrorist
who stabbed two teenagers in Jerusalem) (last accessed July 29, 2024);
https://www.facebook.com/ThingsHappenx/posts/10155171521995718 (glorifying head Hamas operative
in drive-by shooting of Rabbi) (last accessed July 29, 2024);
https://www.facebook.com/ThingsHappenx/posts/pfbid02FpRjLu1tdWwkruqd4eYFZPrhZgk5GzZxuaW
vnjrxBvGA1a36o5orkzViqXYxBk2Cl (glorifying suicide bomber who disfigured her face (and lived) after
detonating her explosives) (last accessed July 29, 2024).

30https://www.facebook.com/ThingsHappenx/posts/pfbid0HLtTT3cQCci2Pjp88kxL6Lr59iLXWYyGDPb

L4NP2bYURLZ35Q2vWVwFpKJFTPAGwl (last accessed July 29, 2024).

31https://www.facebook.com/ThingsHappenx/posts/pfbid02hQNetkMXKDQHVtmAjk5V9EqkKByAzbq

HHzrxYZmsdf2uCva672HdrNB7kJ4f8jwel (last accessed July 29, 2024).

32https://www.facebook.com/ThingsHappenx/posts/pfbid0cGfiqVr41e46PTvAvFB6ZxSf3m1in64g6o8HF

RPThKo79T8oAYLM995fPEsw64Zil (last accessed July 20, 2024).


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       51.     Northwestern extends the platform of NU-E’s daily newspaper, The Daily

Northwestern, to AL-Hroub to spread his ideology on Northwestern’s Evanston campus.

On this school-sponsored platform, AL-Hroub has espoused his support of Hamas and a

whitewashing of their crimes by accusing Israel of spreading a “demonization campaign

against Hamas.”33

       52.     Examples of support for violence against Jews, and casual antisemitism,

among Northwestern’s Qatar faculty goes on and on. An Assistant Professor

(https://www.qatar.northwestern.edu/directory/profiles/al-noaimi-haya.html)

celebrated Hamas breaking into Israel to begin their terror attack on October 7th:




       53.     The         Director         of        the       Liberal         Arts       Program

(https://www.qatar.northwestern.edu/directory/profiles/hermez-sami.html) describes

Israelis as “unwanted” “Europeanized people of Jewish faith”:




33 https://dailynorthwestern.com/2023/10/27/lateststories/al-hroub-academics-have-the-right-to-

question-israels-war-misinformation-campaign/ (last accessed August 2, 2024).

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        54.     Things do not fare much better among Northwestern’s Evanston faculty.

Steven Thrasher, the Daniel H. Renberg Chair of social justice in reporting, and assistant

professor of journalism, also promotes Hamas and erases violence against Jews. His

public-facing twitter profile34 features the symbol:              which Hamas uses to identify

targets in its propaganda videos and is widely recognized as a call for violence specifically

against Israelis and Jews.

        55.     Thrasher has described Zionism – the belief that Jews should enjoy

sovereignty and self-determination in part of their ancestral homeland – as an attempt to

“trick people into religious fights where there weren’t any.”35 Thrasher thus promotes the

antisemitic trope that Jews are conniving and try to “trick” the world, while

simultaneously erasing the historic massacre of Jews prior to the establishment of the

State of Israel.36 Thrasher has also compared Israel to Nazis and enslavers in Africa, two

of the most evil actors in a millennium.


34 https://x.com/thrasherxy?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Eauthor (last

accessed July 29, 2024).

35 https://x.com/thrasherxy/status/1782056747386986903?s=46 (last accessed July 29, 2024).


36 See, e.g. a summary of the 1929 Hebron Massacre

https://en.wikipedia.org/wiki/1929_Hebron_massacre#:~:text=The%20Hebron%20massacre%20was%
20the,scores%20seriously%20wounded%20or%20maimed (last accessed July 29, 2024);
https://medium.com/@Ksantini/the-list-of-crimes-committed-by-muslims-against-jews-since-the-7th-
century-0ff1a8eb0ad0 (list of dozens of violent expulsions and massacres committed by Muslims against
Jews in North Africa and the Middle East since the 7th century) (last accessed July 29, 2024).


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        56.     Thrasher also publicly denies Hamas’ widespread rape of Jewish Israeli

women on October 7th.37

        57.     Northwestern’s Women’s Center, institutionally, also promotes Hamas’

violence against Jews. As publicly circulated by Northwestern’s Associate University

Chaplain for Muslim Life38, just weeks after Hamas’ October 7th slaughter, the

Northwestern Women’s Center publicly distributed the “All Out For Palestine” digital

Toolkit.39




37 https://x.com/thrasherxy/status/1778791548336881928?s=46 (last accessed July 29, 2024);

https://x.com/thrasherxy/status/1748021631132270941?s=46 (last accessed July 29, 2024).

38https://www.facebook.com/tahera.ahmad.5/posts/pfbid0pGLduuM2mHF42rGg26ZmvG7LdCR6wkgo

qUdjQonvb3v7ujczq15H8H7XQSKtVY8Ll (last accessed July 29, 2024).

39https://actionnetwork.org/user_files/user_files/000/098/772/original/All_Out_Palestine_Toolkit_3.

0.pdf (last accessed July 29, 2024).


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         58.      This “resource” distributed by Northwestern’s official Women’s Center,

openly promotes terrorism and violence against Jews, by urging students and faculty to

chant:

                       Resistance is justified when people are occupied40
                         There is only one solution intifada revolution
                                      Globalize the intifada

         59.      The Northwestern Women’s Center’s circulated “toolkit” also urges the use

of the hashtag #AlAqsaFlood which is what Hamas named its October 7th terror

operation, and provides readers with resources regarding “resistance” (i.e., violence

against Jews), including interviews with the leadership of designated terrorist

organizations like the Popular Front for the Liberation of Palestine, a terror gang, like

Hamas, with a long history of murdering Jews, and which actively took part in the October

7th atrocities.41

         60.      A     professor         at      Northwestern’s           school       of       medicine

(https://www.feinberg.northwestern.edu/faculty-profiles/az/profile.html?xid=61679)

also publicly declared that “resistance is justified when a people are occupied” and

objected to any condemnations of “Hamas for their resistance.”42




40 This slogan is widely regarded as justifying Hamas’s atrocities, including their murder, rape, and

mutilation of Jews, because “people are occupied.”

41 https://www.ngo-monitor.org/reports/pflp-involvement-in-the-october-7-atrocities/ (last accessed

July 29, 2024).

42 https://x.com/blobfishfemme/status/1750241753725079980?s=46 (last accessed July 29, 2024).




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        61.     Northwestern University’s Asian American Studies Program faculty

defended Hamas as a “political group,”43 and attempted to parse the claims that “Hamas

beheaded babies” as a “false” and “baseless claim[]… meant to incite hate.”44

        62.     Several Northwestern administrators, including Liv Harmening, the

outreach and education coordinator for Northwestern's Office of Civil Rights and Title IX,

signed public statements drafted by SJP (detailed below), which accuse “Zionists” of

maintaining a “large apparatus of propaganda, [and] white-washing” which is used to

legitimize “genocide” of Palestinians.45

        63.     These are but just a handful of examples of Northwestern faculty openly

supporting Hamas, an anti-Jewish terrorist group, downplaying, justifying, or falsely

denying their murder and rape of Jews, and encouraging further violence against Jews.

Northwestern looks the other way, normalizing antisemitism among its
faculty

        64.     It is difficult to imagine such widespread, open hatred of any other

marginalized group flourishing among the ranks of Northwestern’s faculty.




43 https://www.instagram.com/aasp_nu/?hl=en (last accessed August 2, 2024). As of August 2, 2024,

Northwestern University’s Asian American Studies Program’s statement remains pinned as a top post on
the Program’s Instagram account. The post contains Northwestern’s trademarked logo, indicating that it
is a University approved statement.

44 Secretary Blinken stated five days prior to the faculty’s statement that “we did see photographs,

videos,… A baby, an infant, riddled with bullets. Soldiers beheaded. Young people burned alive in their
cars or in their hideaway rooms. I could go on, but it’s simply depravity in the worst imaginable way. It
almost defies comprehension, and as I’ve been saying, to me, it, in the most immediate future, hearkens
back to ISIS and some of the very things we saw when it was on its rampage that, thankfully, was
stopped.” https://www.state.gov/secretary-antony-j-blinken-at-a-press-availability-39/ (last accessed
May 13, 2024). Likewise, USA Today reported that “[a]n international group of forensic pathologists also
have confirmed babies were found decapitated[.]”
https://www.usatoday.com/story/news/factcheck/2023/10/31/post-falsely-claims-newspaper-reported-
no-babies-beheaded-hamas-israel-fact-check/71394076007/ (last accessed May 13, 2024).

45 https://docs.google.com/document/d/159TyQaHKmBoa79tNCCTUetplk8tr2ZI4wLlTdrKFx4/edit

(last accessed August 3, 2024).

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       65.    Indeed, Northwestern is not powerless to rein in this explicit hatred. It has

ample policies that are supposed to curb it.

       66.    For starters, Northwestern is required by Illinois law to maintain a Campus

Violence Prevention Plan. See 110 ILCS 12/20.

       67.    Northwestern’s plan (though it does not appear to have been updated as

required           by           law),             can      be           found           at:

https://www.northwestern.edu/up/docs/NorthwesternUniversityCampusViolencePrev

entionPlan.pdf (last accessed July 29, 2024) (referred to as the “Plan”).

       68.    The stated overarching policy of the Plan is that “Northwestern University

does not tolerate acts or threats of violence committed by or against employees, faculty,

students, visitors, or other third parties on University owned, controlled, or leased

properties or in connection with University events or programs.” Id., pg. 5.

       69.    The plan emphasizes that “unacceptable behavior” includes “intimidating,

threatening, or violent behaviors that affect the ability to learn, work, or live in the

University environment.” “These behaviors,” Northwestern assures, “have no place in the

academic community.” The Plan defines discrimination and harassment as including

“displaying or circulating written materials or pictures that degrade a person or group.”

It defines Violence as “behavior that causes harm to a person…or causes fear for one’s

safety or the safety of others…” Id., pp. 7-8.

       70.    Northwestern’s Plan promises that “a community member who has violated

this policy is subject to disciplinary action…”

       71.    Ironically here, the Plan offers the Women’s Center as a resource to ensure

campus safety – noting that “The Northwestern University Women’s Center is dedicated




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to fostering a campus climate that promotes equity and enriches the personal,

professional and academic lives of all members of the University community.” Id. pg. 23.

         72.    Northwestern’s faculty handbook likewise does not permit discrimination

or intimidation. It states that “harassment, whether verbal, physical, visual, or through

any other medium, that is based on any [protected] characteristics is a form of

discrimination.”46

         73.    The faculty handbook also makes clear that while “The University is firmly

committed to free expression and academic freedom…discrimination, harassment, and

retaliation, through speech or otherwise, are not protected expression nor the proper

exercise of academic freedom.”

         74.    And the school’s policy on discrimination and harassment indicates that the

school “is committed to fostering an environment in which all members of our community

are safe, secure, and free from prohibited harassment, discrimination, and sexual

misconduct in any form. When learning of conduct or behavior that may not meet these

standards, community members and the University are expected to take an active role in

upholding this policy and promoting the dignity of all individuals.”47

         75.    Northwestern has ample other policies that echo similar (but equally as

hollow) commitments.

         76.    Yet when it comes to Jewish students, application of Northwestern’s

seemingly robust policies is nowhere to be found. Swaths of Northwestern’s faculty –

and, indeed, entire institutional departments, like the Women’s Center, are engaged in


46 https://www.northwestern.edu/provost/docs/faculty_handbook_aug2021.pdf (last accessed July 29,

2024).

47 https://www.northwestern.edu/civil-rights-office/policies-procedures/policies/policy-on-

discrimination-harassment-and-sexual-misconduct.pdf (last accessed July 29, 2024).

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public support of Hamas (a genocidal anti-Jewish terror group), classic antisemitic

stereotyping, rape denial, and tacit (or explicit) support of past violence, and calls for

future violence, against Jews.

       77.      Instead of applying its policies to thwart (or at least curb) the raging public

antisemitism and calls for violence against Jews which permeates its academy,

Northwestern has decided that – when it comes to Jewish students – there is a margin of

acceptable harassment and discrimination. This is why Jew-hatred among its staff has

metastasized.

       78.      Instead, rather than take action, Northwestern platforms and normalizes

these violent and discriminatory sentiments.

       79.      For example, in Northwestern Qatar’s first public post following Hamas’

October 7th terror attack that related to the topic, the school announced an event entitled

“Palestine in Wartime Media Narratives” where Khaled AL-Hroub, its professor – the one

who glorifies Hamas terrorists, openly strategizes for its continued violent resistance

against Jews, and who called for a Third Intifada days after the terror attack – spoke on a

Northwestern-sponsored panel about “Hamas and the framing of terrorism,” while

another Northwestern speaker covered “Narratives of Palestinian Resistance,” (more

Orwellian doublespeak that simply refers to Palestinian violence against Jews).48

       80.      And it is not as though Northwestern is unaware of AL-Hroub’s outrageous,

hateful and discriminatory rhetoric. Just weeks before Northwestern platformed him on

a school-sponsored panel to explain why Hamas isn’t a terrorist organization, AL-Hroub




48 https://x.com/nuqatar/status/1719202567715000578?s=46 (last accessed July 29, 2024).




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went on public radio and stated he had not seen “any credible media reporting” that

Hamas killed women and children on October 7th.

        81.     Following this, Northwestern issued a milquetoast statement condemning

“AL-Hroub’s attempt to minimize or misrepresent the horrific killing of Israeli civilians

by Hamas,” but later revised the statement to remove his name from that sentence.49

Northwestern then slinked back to comfortably tolerating (and platforming) this faculty

member’s open support of Hamas. Less than two weeks later, he was platformed in The

Daily Northwestern. See ¶ 51 and FN 33, supra.

        82.     Northwestern also saw fit, in recent weeks, to have Steven Thrasher – the

professor who denies Hamas’ systematic rape of Jewish women on October 7th – to

officially represent the school’s Institute for Sexual and Gender Minority Health:




        83.     In other words, Northwestern is aware of its faculty members’ proclivities

towards supporting Hamas (an anti-Jewish terror group), and chooses to do nothing (at

best), and platforms them to spread their hatred, at worst. Operating freely under


49 https://dailynorthwestern.com/2023/10/18/campus/northwestern-condemns-prof-khaled-al-hroub-

comments-on-hamas/ (“This article has been updated to reflect that Northwestern altered its statement to
condemn “any attempt to minimize or misrepresent the horrific killing of Israeli civilians by Hamas on
Oct. 7,” rather than “AL-Hroub’s attempt” to minimize or misrepresent the attack.”)

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Northwestern’s prestigious purple umbrella, and crowned with @northwestern.edu e-

mails, these faculty are provided a full platform to promote their hateful and inherently

discriminatory agenda.

        84.     It is difficult to imagine Northwestern tolerating (let alone platforming) this

kind of widespread hatred against any other protected class; it is inconceivable that

Northwestern would hire supporters of the KKK. Yet when it comes to its faculty’s support

of the most front-and-center violent Jewish hate group, Northwestern has an unwritten

but de facto policy of suspending its rules and codes of conduct. It applies its rules

differently when Jews are at issue, and has an institutionalized policy of looking the other

way when Jewish students are harassed, assaulted, and otherwise endangered.

Northwestern allows, and even encourages, a “major antisemitic event” in
the middle of campus

        85.     Against the backdrop of the bubbling antisemitism of its faculty, and years

of antisemitic activity on campus (more on that below), Northwestern faced “the

encampment on Deering Meadow.”

        86.     The encampment, also dubbed by its organizers as the “Liberated Zone,”

was erected on April 25, 2024 on Deering Meadow (the central lawn of Northwestern’s

Evanston campus) by SJP and their allies.50 Northwestern SJP stated it was “inspired by




50 SJP was founded by the same individual that founded American Muslims for Palestine (“AMP”), an

organization that provides financial backing, organizational instructions, marketing materials, and overall
strategic support for SJP chapters nationwide. In 2021, the Seventh Circuit Court of Appeals found that
the parents of David Boim, an American citizen, who was murdered by Hamas in 1996 plausibly alleged
that AMP is the alter ego of three entities that “fundraised for and funneled money to Hamas operatives in
the West Bank and Gaza, who in turn used those funds to carry out the attack on David,” and therefore,
“provided material support or resources to terrorism and to a foreign terrorist organization.” Boim v. Am.
Muslims for Palestine, 9 F.4th 545, 548 (7th Cir. 2021).


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actions at Columbia”51 and the purpose of the encampment was made clear in the

organizers’ Instagram posts: “Occupy [and] disrupt.”




        87.     Among the littering of tents, individuals dressed up as members of Hamas

and stalked passersby, demanding they state whether they spoke Hebrew.52




51 A similar encampment was set up at Columbia University in New York. That encampment has featured

threats to Jews that “the 7th of October will be every day for you” and is or was led by a student who stated
“Zionists do not deserve to live.” See Complaint in C.S. v. the Trustees of Columbia University in the City
of    New      York,      Case      No.     1:24-cv-03232       (S.D.N.Y,     April     29,    2024);     see
https://www.instagram.com/p/C6O9TMXLVPC/?igsh=NTc4MTIwNjQ2YQ%3D%3D&img_index=1 (SJP
Instagram post announcing the Liberated Zone).

52 https://x.com/rich_goldberg/status/1783566767098384884?s=46 (last accessed July 29, 2024).



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           88.   This particular “protestor” who walked freely around Deering Meadow,

wore a sweatshirt lionizing Abu Obaida, the spokesman for Hamas’ al-Qassam Brigades,

who were responsible for the October 7th massacre. Abu Obaida is a known terrorist that

is individually named on U.S. Treasury Department and European Union sanctions

lists.53

           89.   The perimeter of the “Liberated Zone” featured antisemitic signs such as a

Star of David with a red slash through it, and a cartoon of President Schill (Northwestern’s

Jewish president) with horns and blood dripping from his mouth.




           90.   In and around the encampment, Jewish students were physically assaulted

by encampment participants.

           91.   In and around the encampment, at least one Jewish student wearing a

kippah was spat on.

           92.   In and around the encampment, Jewish students were subjected to slurs,

including, but not limited to: “burn in hell,” “dirty Jews,” “go back to Poland!” “go back




53https://www.reuters.com/world/middle-east/us-sanctions-target-hamas-spokesperson-drone-

program-leaders-2024-04-12/ (last accessed July 29, 2024).


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to Germany!” “get gassed!” “settlers, settlers go back home,” and “Zionist pigs are not

welcomed in this space.”

        93.     The encampment also featured signs justifying violence against Jews via

hardly euphemistic posters proclaiming that resistance – i.e., Hamas’s brutal October 7th

massacre against civilians – is not terrorism, and rhetorically suggesting that that de-

colonization must be a “tangible event,” and not abstract – i.e., it requires more violence

against Jews54:




        94.     For days on end, dozens and sometimes hundreds of participants gathered

at the unauthorized and unlawful encampment, bashed their drums and shouted through

megaphones Jew-terrorizing and Jew-hating slogans including “Intifada, Intifada, Long




54 The phrase “This is what decolonization looks like” became a rallying cry used at pro-Hamas
demonstrations around the world when referring to October 7th. This sentiment championing violence
against the civilians of the only Jewish state is echoed in national SJP’s pro-Hamas toolkit, which states,
“Liberation is not an abstract concept…. Rather, liberating colonized land is a real process that requires
confrontation by any means necessary. In essence, decolonization is a call to action… Resistance comes in
all forms [including] armed struggle[.]” https://dw-wp-production.imgix.net/2023/10/DAY-OF-
RESISTANCE-TOOLKIT.pdf. This call to violence against Jews is also reflected through the toolkit
promoted by Northwestern’s Women Center. See FN 39, supra.


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live the Intifada,” “Globalize the Intifada,” “Resistance is justified when people are

occupied,” and “From the river to the sea, Palestine will be free.”55

        95.      Jewish students were threatened in other ways in and around the

encampment. Masked terror-supporters signaled the upside-down triangle                              – the same

one that appears on Steven Thrasher’s public Twitter profile – to intimidate and threaten

violence. See ¶ 54, supra.




55 On April 16, 2024, the U.S. House of Representatives passed a bipartisan resolution, H.R. 883,
condemning the chant “From the River to the Sea, Palestine Will be Free” as antisemitic. The resolution
recognizes, inter alia, that: (i) “the slogan ‘from the river to the sea, Palestine will be free’ is an antisemitic
call to arms with the goal of the eradication of the State of Israel, which is located between the Jordan River
and the Mediterranean Sea;” (ii) “the slogan seeks to deny Jewish people the right to self-determination
and calls for the removal of the Jewish people from their ancestral homeland;” (iii) “Hamas… and other
terrorist organizations and their sympathizers have used and continue to use this slogan as a rallying cry
for action to destroy Israel and exterminate the Jewish people,” which “can promote violence against the
State of Israel and the Jewish community globally;” (iv) “this slogan incites fear within the Jewish
community in the United States and around the world;” and (v) “this slogan has been used recently by
violent protestors throughout the United States and the world.” The phrase is also found in Hamas’ 2017
Charter, which states: “Hamas rejects any alternative to the full and complete liberation of Palestine, from
the river to the sea.” https://www.middleeasteye.net/news/hamas-2017-document-full (last accessed
August 6, 2024).

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        96.       The upside-down red triangle also appeared on posters displayed on

campus which contained a call to “fight the Zionists” (i.e., Plaintiffs and the vast majority

of other Jews who consider Zionism to be a central to their Jewish identity).

        97.       The encampment featured additional glorification of known terrorists who

have killed or attempted to kill Jews. For example, signs calling to “Free Ahmad Manasra”

and posters glorifying Leila Khaled were seen throughout. Ahmad Manasra is imprisoned

for attempted murder after stabbing two Jews in Jerusalem, critically injuring a 13-year-

old boy.56 For her part, Leila Khaled is a member of the Popular Front for the Liberation

of Palestine, another designated terrorist organization, who hijacked civilian aircraft and

engages in conspiracy theories about Jews’ supposed control of the world.

        98.       Encampment “protestors” also spraypainted “Death 2 Israel” on

Northwestern’s Jacobs Center, just north of Deering Meadow.

        99.       Jewish students were harassed and targeted in and around the encampment

in other ways – both verbally and physically.

        100.      When Jewish students entered the encampment in the middle of

Northwestern’s campus, the protesters attempted to push them out and threatened them,

shouting: “settlers, settlers go back home” and “we don’t want no Zionists here.” Others

at the encampment shouted, “racist, Zionist pigs are not welcomed in this space” and

“Zionists aren’t welcome. Zionists go home.”




56https://www.timesofisrael.com/palestinian-teen-convicted-in-jerusalem-stabbing-attack/ (last accessed

July 29, 2024).


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       101.    In a video posted on Instagram, the organizers of the unauthorized

encampment proudly promote how they kicked Jews off of the center of Northwestern’s

campus:57




       102.    When Jewish students sought to document the antisemitic activities of the

unauthorized encampment, they were physically assaulted, blocked from entering

Deering Meadow, pushed away, and had their phones and cameras knocked out of their

possession.

       103.    President Schill acknowledged many of these and other incidents of

antisemitism at Northwestern in his April 30, 2024 video message to the community.

https://www.youtube.com/watch?si=OtaStXBM33SIcFU1&v=HFFkYEEvW_s&feature

=youtu.be     (“Jewish students are feeling threatened and unsafe…when I see a Star of

David with an ‘X’ on it, when I see a picture of me with horns, or when I hear that one of

our students has been called a ‘dirty jew’ there is no ambiguity. This needs to be




57 The Instagram video mocks the slogan “Bring Them Home” that was adopted by Israeli and Jewish

advocates for the hostages kidnapped by Hamas.

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condemned…Jewish students must feel safe walking past Deering Meadow and

everywhere on our campus.”)

      104.   Regarding the encampment, in his testimony before Congress on May 23,

2024, President Schill testified that the encampment was “a threat to our community,”

was “breaking our rules,” and that it was “the major antisemitic event on our

campus.” He testified that the encampment made “Jewish students feel unsafe,” and

admitted “they couldn’t walk through Deering Meadow. They couldn’t pass Deering

Meadow.”

      105.   Nevertheless, some of Northwestern’s faculty, including Steven Thrasher,

encouraged students to attend the encampment, held mandatory classes at the

encampment, or cancelled class altogether in order to facilitate attendance at the

encampment. Other Northwestern employees, including SaShay Butler, Assistant

Director of Student Enrichment Services, actively facilitated the encampment by

collecting University supplies, including water bottles, blankets, feminine hygiene

products, and portable chargers to distribute to the participants.

Northwestern first suggests it will take action, but instead tolerates, and
rewards the organizers of the major antisemitic event on campus

      106.   Northwestern allowed the “major antisemitic event on campus” to clamor

for five days uninterrupted.

      107.   At first, on the day the encampment was erected, Northwestern issued a

statement that the encampment was prohibited, and acknowledged that protests on

campus since October 7th “have interfered with classes in nearby buildings, as well as

chalkings, flyers, banners and chants that many have found hateful, intimidating,




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offensive and difficult to avoid.”58 The university threatened that “Students who refuse

to remove their tents will be subject to arrest and their tents will be removed by the

University. Community members who do not adhere to University policies will face

discipline.”59

       108.      Later that day, Northwestern conveyed that the demonstrators declined the

school’s offer to “peacefully assembly if they comply with Northwestern policies,

including removing tents and ceasing the use of bullhorns and speakers.” Northwestern

promised that it would “move forward with other options to protect the safety of the

community and the continued operations of the Evanston campus.”60

       109.      Of course, Northwestern did have the policies and wherewithal to follow

through with its promise to remove the encampment. Its Campus Violence Prevention

Plan specifically contemplates “Disruption” and provides that “students who commit a

disruption…shall be subject to University disciplinary procedures, which may include

fines, probation, suspension, or exclusion from the University.” Its Plan prohibits

students from engaging in “unauthorized…use of University facilities [or] property.” It

defines “disorderly conduct” as including “action that disturbs or endangers the peace or

comfort of others in the community.” The Plan prohibits “disobeying a directive or

command by any University or emergency official in connection with a…safety [or]

security matter.” And, most importantly, the Plan indicates that the University has the




58https://www.northwestern.edu/leadership-notes/2024/northwestern-enacts-interim-addendum-to-

student-code-of-conduct.html (last accessed August 6, 2024).

59 https://www.northwestern.edu/leadership-notes/statements/2024/statement-on-april-25-

encampment.html (last accessed July 29, 2024).

60 https://www.northwestern.edu/leadership-notes/statements/2024/update-on-demonstration-on-

deering-meadow.html (last accessed July 29, 2024).

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infrastructure to implement the Plan, noting that the “University Police has primary

responsibility for developing and deploying services, programs and strategies for

maintaining a reasonably safe campus…deriv[ing] their law enforcement authority from

State of Illinois statutes (110 ILCS 1005/0.01-3.0 / Private College Act)…”61

        110.    And there was no question that the encampment violated a slew of content-

neutral policies, including Northwestern’s Demonstration Policy, Outdoor Event Request

Portal, and even the “interim rules” that Northwestern created specifically to address the

encampment (as though its other policies were somehow insufficient, which they were

not).62 The University’s statements reflected as much.63

        111.    Northwestern acquiesced to the protesters during the next four days (and

thereafter), as the encampment festered, its participants continuing to assault and harass

Jewish students.

        112.    Northwestern turned off its regularly scheduled lawn sprinklers to

accommodate the encampment.

        113.    Northwestern also allowed the encampment demonstrators not affiliated

with the school to access the Multicultural Center (“MCC”) facilities, which are normally

only accessible to students who are required to scan their school ID cards to gain entry.

When unauthorized encampment demonstrators entered the MCC, Northwestern


61 https://www.northwestern.edu/up/docs/NorthwesternUniversityCampusViolencePreventionPlan.pdf

(last accessed July 29, 2024).

62 https://policies.northwestern.edu/docs/demonstration-policy-final.pdf (Northwestern’s

Demonstration Policy); https://www.northwestern.edu/norris/events/event-management/outdoor-
event-request-information.html (Northwestern’s Outdoor Event Request Portal);
https://www.northwestern.edu/communitystandards/student-handbook/final-addendum-to-student-
handbook-42524.pdf (interim rules) (last accessed July 29, 2024).

63 https://www.northwestern.edu/leadership-notes/statements/2024/statement-on-april-25-

encampment.html (last accessed July 29, 2024).


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employees directed the outside agitators to non-public areas of the building – campus

facilities they would normally be prohibited from entering.

        114.    Then, on April 29th, Northwestern triumphantly announced that it had

reached an “agreement” with the organizers of the major antisemitic event on campus.64

        115.    The Agreement provides that the demonstrators would do what they were

already required to do – remove the tents at Deering Meadow (except for an “aid tent”).

In exchange, Northwestern promised the organizers a bundle of goodies, like promising

to pay the undergraduate tuition of five Palestinians; and to renovate a house for

MENA/Muslim students as soon as practicable (a project that was, apparently, already

underway).

        116.    Particularly appalling, the Agreement provides that “[t]he University will

publicly condemn the doxing of any community member and will advise employers not to

rescind job offers for students engaging in speech protected by the First Amendment.” In

other words, Northwestern promised to help the rule-violating, antisemitic protestors

avoid the public repercussions of their actions. Northwestern thus sent a clear message:

Not only will there be no consequences for harassing Jews, but Northwestern would agree

to “publicly condemn,” i.e. retaliate against, anyone that attempts to inform others of the

identity of the antisemitic protestors. Northwestern promised bigots a shield against any

backlash to their hatred.




64 https://www.northwestern.edu/leadership-notes/2024/april-29-agreement-on-deering-meadow.html

(last accessed July 29, 2024).


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        117.    The organizers of the encampment, SJP, rightly viewed this as a

capitulation, and felt energized that it was a step in the right direction.”65

        118.    Indeed, knowing that they could act without consequence, the organizers

immediately breached the Agreement. The very next day, Northwestern SJP organized an

“all night sleepover on the lawn” where “sleeping bags will be provided.” For days after

the pact was announced, Deering Meadow was still littered with tents, garbage, and

signage above piles of tents stating “DO NOT TAKE – for NU Sleepovers.” In other words,

the encampment organizers did not adhere to their side of the “bargain,” but

Northwestern yet again did nothing to hold them accountable.

        119.    And the discriminatory, rule-violating behavior extended beyond the

Deering Meadow encampment.

        120.    On May 1, 2024, a demonstration called “Strike for Gaza” was held at The

Rock on Northwestern’s campus. The campus was plastered with posters promoting this

unauthorized demonstration. Some faculty members again cancelled classes so that

students would participate, while other professors lectured at the demonstration. As

described in more detail below (infra at ¶ 178), the demonstration was filled with posters

stating: “resistance is justified when people are occupied. #AlAqsaFlood,” and individuals

shouting similar violent rhetoric.66




65 https://www.instagram.com/p/C6ZsZ5uPuEt/?igsh=NTc4MTIwNjQ2YQ== (Northwestern SJP

Instagram, April 30, 2024) (“Once again, this agreement does not mark the cessation of our resistance but
an essential and tactical pivot that enhances our leverage moving forward…”)
66 The unauthorized rally and flyer that was posted around campus promoting it violated several

University policies, including requirements that “only registered organizations of the Northwestern
community are allowed to advertise and promote their events on University property” and “all
advertisements and other forms of publicity must clearly state the name(s) of the sponsoring student(s)
and/or organization(s).”

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       121.   Northwestern again showcased that, when it comes to the harassment (and,

in this case, physical assault) of Jewish students, there is wiggle room in enforcing policies

that are on the books.

       122.   Not only did Northwestern tolerate and normalize the encampment’s

hatred, both by letting it go on unchecked for days, and by then negotiating with its

organizers to please stop; but Northwestern actively promoted the event.

       123.   Northwestern’s official school library encouraged the participants of the

encampment to “please consider saving your protest materials (both physical and digital!)

to include your voice in Northwestern University Archives…Privacy concerns? We’ll keep

you anonymous – just contact us!”




       124.   Northwestern thus officially condoned what President Schill testified was

the “major antisemitic event on campus” where Jewish students could not pass through,

by encouraging participants to share their “materials” (anonymously, if they so desired)

so that the school could forever preserve these historic gems – like the Star of David

slashed out, the calls for the eradication of the only Jewish state, the poster of President



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Schill with horns, the signs justifying murder and rape of Jewish civilians, and the

posterized blood libels. As the school’s library website makes clear, participating in this

type of project would allow the participants to “preserve your group’s legacy” and

“Guarantee your successors can continue to carry the torch.”67

        125.   Upon information and belief, Northwestern’s library has never sought to

preserve print or digital materials expressing this kind of hatred towards any other

protected class. For example, upon information and belief, the “It’s Okay to be White”

stickers are not included in the library’s archives, nor did Northwestern seek to preserve

them.

Northwestern Qatar (and Hamas) supports the major antisemitic event on
campus

        126.   Students from Northwestern Qatar – whose faculty support Hamas and

violence against Jews – also participated in the major antisemitic event on campus:




        127.   This is unsurprising given the open and flowing two-way channel between

Northwestern’s Evanston and Qatar campuses. See ¶¶ 36-40, supra. Indeed, President

Schill testified that one of the values of having a satellite campus located in Qatar is that

it provides “benefits to faculty and students who want to go back and forth.”


67 https://www.library.northwestern.edu/libraries-collections/mccormick-library/collection-

highlights/special-projects/make-your-mark.html (last accessed July 29, 2024).

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       128.    Of course, Professor Khaled AL-Hroub, the open Hamas supporter,

described the encampment participants – some of whom terrorized their Jewish

classmates for days on end – as “heroes”:




       129.    Hamas officially celebrated these campus activities. Izzat Al-Risheq, a

member of its political bureau, issued a statement in support: “Today’s students are the

leaders of the future.”68 Similarly, the PFLP issued a statement, the day before

Northwestern’s “Liberated Zone” was created on Deering Meadow praising the university

protests. The designated terrorist group stated that it “condemns the repressive practices

of the administrations of universities in the United States, and affirms its support for the

struggle of the student movement in support of Palestine.” In fact, the PFLP specifically

“confirm[ed] [its] steadfast support for the struggle of the student[] youth movements,

[including] Students for Justice in Palestine (SJP).”69 The PFLP went on to state that it

“highly appreciate[s] the positions, movements, and struggles of our students in

American universities, and call for the escalation of their struggle,” which Northwestern

SJP did the following day. The PFLP’s statement concluded, “We highly value the

supportive and solidary positions for the struggle of our people in various American

universities and around the world[.]”



68https://www.usatoday.com/story/news/politics/2024/04/24/hamas-iran-support-college-

protests/73447123007/ (last accessed July 29, 2024).

69https://www.bronxantiwar.org/statements/pflp-statement-in-support-of-us-student-gaza-solidarity-

encampments (last accessed May 13, 2024).


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        130.    Qatar’s state-sponsored media outlet, Al Jazeera, provided glowing

coverage of the encampments across the country, including an interactive map of all the

“pro-Palestine campus protests around the world.”70 One Al-Jazeera article described a

Canadian university’s efforts to dismantle an encampment as “a crystallization of multiple

layers of violence involved in sustaining settler control over Indigenous land.”71

        131.     In addition to its agreement with the Qatari government to lend its name

to a satellite campus in Doha, Northwestern also has a formal Memorandum of

Understanding with Al Jazeera, which it boasts on its website as one of its “institutional

partnerships.”72 As part of Northwestern’s intercampus exchange program, NU-E

students are taken to Al Jazeera’s offices in Doha.73

        132.    Al Jazeera pumps antisemitic propaganda worldwide, at the behest of the

Qatari government and Hamas. As just one example, Al Jazeera ran with this piece74:




70https://www.aljazeera.com/news/2024/4/29/mapping-pro-palestine-campus-protests-around-the-

world (last accessed July 29, 2024).

71https://www.aljazeera.com/opinions/2021/7/20/encampment-evictions-another-face-of-colonial-

violence-in-canada (last accessed July 29, 2024).

72 https://www.qatar.northwestern.edu/about/partnerships.html (last accessed July 29, 2024).


73 https://news.northwestern.edu/stories/2013/03/spring-break-in-nu-q/ (last accessed Aug. 2, 2024).


74 https://www.aljazeera.net/politics/2021/5/19/%D9%83%D9%8A%D9%81-

%D8%AA%D8%B3%D8%AA%D9%85%D8%B1-
%D8%A7%D9%84%D8%AC%D9%85%D8%A7%D8%B9%D8%A7%D8%AA-
%D8%A7%D9%84%D9%8A%D9%87%D9%88%D8%AF%D9%8A%D8%A9 (last accessed July 29, 2024).


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        133.    Al Jazeera has long been recognized as antisemitic and pro-terror. It has

openly celebrated Samir Kantar, a Lebanese man who killed three Israelis, including a

four-year old girl, and correspondents on its talk shows have said things including: “The

Jews are the ones responsible for spreading this hostile view of Islam…The Jews dominate

the Western media, and they feed the decision-makers this distorted view of Islam.” In a

video it has since retracted, the narrator suggested millions of Jews did not die in the

Holocaust and asked “What is the truth of the Holocaust and how did the Zionists benefit

from it?”75

        134.    At least four members of Congress have opened an inquiry on

Northwestern’s relationship with Al Jazeera, citing Al Jazeera’s support of and

platforming of Hamas leadership, and the fact that multiple Al Jazeera correspondents

have been discovered to moonlight as members of Hamas in Gaza (one a commander in

a Hamas anti-tank missile unit, and another who is accused of being a Hamas platoon

deputy commander).76 Indeed, Abdallah Aljamal was an Al Jazeera correspondent

promoted on its website77 until it was revealed that he held three October 7th hostages at

his home in Gaza until Israeli forces rescued them.78

        135.    But it is through this agreement with Al Jazeera, and by lending its name to

the Qatari government, that Northwestern has become an active participant in the




75 https://www.nationalreview.com/2019/05/al-jazeera-anti-semitic-video-controversy-radical-agenda/

(last accessed July 29, 2024).

76 Letter-to-Northwestern-Regarding-Al-Jazeera.pdf (d12t4t5x3vyizu.cloudfront.net) (last accessed

August 6, 2024).
77https://web.archive.org/web/20240724002227/https://www.aljazeera.com/author/abdallah_aljamal_

190122103235277 (last accessed August 6, 2024).

78 https://www.jpost.com/israel-hamas-war/article-811401. One of the rescued hostages recounted that

Aljamal was a “pyscho” that tortured his captives.

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injection of Hamas’ anti-Jewish propaganda directly into the veins of American higher

education.

       136.   Jew-hatred thus churns institutionally at Northwestern, and it is the stuff

of Title VI nightmares.

Northwestern’s discriminatory reaction to the encampment is consistent
with its historically lax approach to anti-Jewish hatred on campus

       137.   Though the encampment was a most recent and egregious example of

antisemitism on Northwestern’s campus, it certainly was not the first.

       138.   For years, the Northwestern chapter of SJP – a registered student

organization – has coordinated local and national efforts to target and harass Jewish

students on campus – in addition to the central role it played in fomenting the

encampment.

       139.   For example, in 2017, Northwestern SJP invited Rasmea Odeh and Nadine

Naber to Northwestern’s campus speak. The former is a convicted terrorist and member

of the PFLP (a designated terror organization) who coordinated terrorist bombings in

Israel in the 1960s; the latter writes articles denying Jews’ indigenous and historical

connections to Israel, claiming that “Jews from all over the world were sent to settle a

land [Israel] where they had no prior territorial affiliation,” and further conspiring that

“not all Jews today are the descendants of the original Semitic people.” Northwestern SJP

welcomed them to the Evanston campus to continue to spread their hatred towards Jews,

with no pushback from the administration.

       140.   In May 2021, Northwestern’s Associated Student Government (“ASG”)

passed a resolution condemning Israel. A Jewish student senator noted that throughout

the proceeding “Jewish students and ASG senators were silenced, vilified, [intimidated]


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and personally attacked… The dialogue around amending the resolution was not a good-

faith attempt to include Jewish perspectives, but instead a litmus test that presents a false

binary for some students between their Jewish identity and progressive activism on

campus.”79 When the resolution was passed, the Jewish student senator warned that “[i]t

will lead to increasingly hostile climate for Jews.”

        141.    In November 2021, SJP protesters, known for their glorification of Hamas

and other organizations that seek to kill Jews, stormed the field at a Northwestern’s men’s

football game in protest of Israel.80 Following the incident, the University issued a

statement, titled “Demonstrations and Freedom of Expression,” in which it stated that

SJP’s protest at the football game “represents a violation of our demonstration policy and

will require the University to move promptly to end any such disruptions and hold

individuals accountable. Ramifications can potentially involve suspension, expulsion or

legal consequences as appropriate.”81 The statement further noted that Northwestern’s

“demonstration policy is designed to prevent the harm or harassment of our community

members as they conduct their business. Under the policy, demonstrations may not

infringe upon the rights of others, endanger the safety of individuals or disrupt University

operations or events.” Yet, on information and belief, neither SJP as a registered student

organization nor any of its members were disciplined for the unauthorized acts.



79 https://www.instagram.com/p/CPXYhH7tdIo/?utm_source=ig_web_copy_link&img_index=2          (last
accessed May 13, 2024).

80https://www.washingtonexaminer.com/news/1067405/blm-pro-palestine-protesters-storm-field-

during-northwestern-university-football-game/     (last     accessed     May       13,      2024);
https://www.si.com/college/northwestern/football/northwestern-vs-iowa-game-interrupted-by-on-field-
protest (last accessed May 13, 2024).

81https://www.northwestern.edu/leadership-notes/2021/demonstrations-and-freedom-of-

expression.html (last accessed August 6, 2024).


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       142.   In November 2022, a Jewish student wrote an op-ed describing that she

“faced hostility several times throughout [her] NU experience, most recently last

weekend.” She explained why the Hamas slogan, “From the River to the Sea” was a

“rallying cry to destroy the entire State of Israel and all of its Jewish inhabitants” and was

a “phrase [that] originated more than 30 years ago, evolving from language in the 1988

Hamas charter that promoted the destruction of Jews, echoing Adolf Hitler’s messaging

on the merits of the Protocols of the Elders of Zion.” She described how seeing that phrase

around campus created hostility and invited students “who promote or subscribe to the

harmful messaging” to meet with her, talk with her, ask questions, or even join her for

Shabbat dinner.

       143.   In response, Northwestern SJP tied dozens of copies of her article together,

graffitied it with the slogan “From the river to the sea, Palestine will be free,” and zip-tied

it to fences around Deering Meadow – doubling down on the harassment against the

Jewish author and other Jewish students on campus.




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        144.    When Jewish students saw SJP’s banner, they reached out to Northwestern

Hillel’s Executive Director in tears, understanding it to be an act of intimidation and

harassment. Again, SJP was never disciplined.

        145.    Over the course of several years, Northwestern SJP and other student

organizations learned one lesson: Northwestern will never penalize them. They took this

lesson to heart, and Northwestern’s refusal to regulate their conduct like they do with any

other student organization ensured that SJP could continue harassing Jewish students

without consequence.

        146.    On October 8, 2023, as Hamas’ terror attack was still happening, the

national SJP issued a “toolkit” to its various university chapters, including Northwestern

SJP, calling the then-ongoing rape, murder, and kidnapping, “a historic win for the

Palestinian resistance.”82 The document is an open call to arms, proclaiming, “As the

Palestinian student movement, we have an unshakable responsibility to join the call for

mass mobilization. National liberation is near—glory to our resistance, to our martyrs,

and to our steadfast people.”

        147.    On October 8, 2023, Northwestern SJP issued a public statement glorifying

Hamas’ terror attack against Jews in Israel (which was still ongoing). Northwestern SJP

referred to the attack as an act of “defen[se],” which was “not only a moral imperative, but

a right enshrined in global accords.” According to Northwestern SJP, Israel “cannot, by

any logical construct, claim victimhood” based on Hamas’ attempt at genocide.83




82 https://dw-wp-production.imgix.net/2023/10/DAY-OF-RESISTANCE-TOOLKIT.pdf (last accessed
July 29, 2024).

83 This post remains pinned to the top of Northwestern SJP’s Instagram profile.




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        148.   Days later, Northwestern SJP followed the marching orders of National SJP

and the instructions of Khaled Meshaal, the former chief of Hamas (living in Qatar), to

engage in a day of “jihad” on October 13, 2023 across the globe.84

        149.   Beginning on October 11, 2023, Northwestern SJP have organized

numerous rallies and marched on and near Northwestern’s Evanston campus waving a

Hamas flag.

        150.   Northwestern SJP members have demonstrated in front of and called for

the elimination of Northwestern’s Hillel (the center for Jewish life on campus), including

by distributing fliers targeted at incoming undergraduate students suggesting

Northwestern supports genocide by “funneling” Jewish students to Hillel. Northwestern

faculty members attended the demonstration against Hillel.85 In fact, Hillel’s offices on

campus are located across Deering Meadow, such that any Jewish student who visited

Hillel to attend prayer services, receive Kosher meals, or otherwise participate in Jewish

life on campus was forced to endure the antisemitism spewed by the unauthorized

protesters.

        151.   SJP has not been disciplined for its clear and significant role in harassing,

targeting, and discriminating against Jews on campus.

        152.   While    other    universities,   including     Brandeis    University, Columbia

University, Rutgers University, and George Washington University, had seen enough




84 See https://www.reuters.com/world/middle-east/former-hamas-chief-calls-protests-neighbours-join-
war-against-israel-2023-10-11/ (last accessed May 13, 2024); https://nypost.com/2023/10/11/ex-hamas-
chief-calls-for-global-protests-against-israel-friday/ (last accessed May 13, 2024).

85https://reason.com/volokh/2024/04/23/northwestern-dean-of-students-presence-at-anti-israel-

protest/    (last  accessed    May      13,    2024);    https://www.northwestern.edu/leadership-
notes/statements/2024/statement-on-april-15-demonstration.html (last accessed May 13, 2024).


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antisemitic, pro-terror, violent rhetoric out of their local SJP chapters (all of which take

directives from National SJP) and suspended the student organization and many of its

members from their campuses, Northwestern took no action against the group or its

members.86 And despite their actions becoming more repugnant and contributing to an

increasingly toxic environment for Jews on Northwestern’s campus, to this day, SJP still

has not been suspended at Northwestern.




86https://www.brandeis.edu/president/letters/2023-11-08-free-speech-not-hate-speech.html                 (“This
decision was made because SJP openly supports Hamas, which the United States has designated as a
Foreign Terrorist Organization, and its call for the violent elimination of Israel and the Jewish people.”)
(last accessed May 13, 2024); https://gwhatchet.com/2023/11/14/gw-suspends-sjp-for-three-months-
after-anti-israel-library-demonstration/ (“Effective immediately, the university has prohibited SJP from
participating       in    activities      on     campus”)      (last       accessed    May      13,     2024);
https://news.columbia.edu/news/statement-gerald-rosberg-chair-special-committee-campus-safety
(“Columbia University is suspending Students for Justice in Palestine (SJP) and Jewish Voice for Peace
(JVP) as official student groups through the end of the fall term. This decision was made after the two
groups repeatedly violated University policies related to holding campus events, culminating in an
unauthorized event Thursday afternoon that proceeded despite warnings and included threatening rhetoric
and intimidation.”) (last accessed May 13, 2024); https://abc3340.com/news/nation-world/rutgers-
suspends-students-for-justice-in-palestine-chapter-over-vandalism-disruption-new-brunswick-new-
jersey-university-israel-hamas-middle-east-conflict-sjp (“While Rutgers–New Brunswick is a public
institution that protects and values free speech and an open exchange of ideas, this exchange cannot come
at the expense of individual and campus safety.”) (last accessed May 13, 2024);
https://www.insidehighered.com/news/quick-takes/2024/05/30/san-jose-state-suspends-sjp-chapters-
faculty-adviser (“San José State University has suspended a Justice Studies professor who’s also faculty
adviser      for    the   campus        chapter    of    [SJP]”)     (last    accessed   Aug.     2,    2024);
https://www.theeagleonline.com/article/2024/04/breaking-american-university-places-students-for-
justice-in-palestine-chapter-on-disciplinary-probation (“American University places [SJP] chapter on
disciplinary probation”) (last accessed Aug. 2, 2024); https://www.reuters.com/world/us/floridas-
desantis-bans-pro-palestinian-student-group-2023-10-25/ (“Florida’s university system, working with
Governor Ron DeSantis, ordered colleges on Tuesday to shut down [SJP]”) (last accessed Aug. 2, 2024);
https://www.unc.edu/safety-update-about-recent-campus-events/ (“the University [of North Carolina]
suspended the campus chapter of [SJP]… [which] means the group may not participate in any University
activities, use campus facilities, or receive funding from student fees or any other University sources.”) (last
accessed Aug. 2, 2024); https://www.jns.org/case-westerns-sjp-chapter-suspended-for-using-glue-when-
posting-fliers/ (“Case Western’s SJP chapter suspended”) (last accessed Aug. 2, 2024); see also
https://www.jpost.com/diaspora/antisemitism/article-787260 (“MIT suspends pro-Palestinian student
group, saying it broke campus demonstration rules”) (last accessed Aug. 2, 2024);
https://www.thecrimson.com/article/2024/4/23/harvard-psc-suspended/ (“Harvard Suspends Palestine
Solidarity Committee Amid Wave of Protests on College Campuses”) ”) (last accessed Aug. 2, 2024).


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        153.   Instead, SJP is still promoted on Northwestern’s website as an approved

student organization, with an Associate Director of Student Organizations & Activities

appointed as a University advisor.87

        154.   In addition to SJP, another registered student organization, Northwestern

University Community for Human Rights (“NUCHR”), issued a statement on October 10,

2023, titled “Let's talk about Palestine.” NUCHR claimed to explain “what’s happening

right now,” by stating that the thousands of terrorists who left Gaza to attack Israel were

simply “Palestinians [that] have returned home.” NUHCR explained that the video and

images Hamas took of themselves while committing these atrocities were simply “what

decolonization look liked.” The post concludes, “[NUHCR] stands in solidarity with

Palestinian freedom fighters” (i.e. Hamas).

        155.   Additionally, as detailed supra at ¶¶ 43-64, multiple Northwestern faculty

members and staff issued statements in the wake of October 7th victim-blaming Jews and

promoting Hamas’ atrocities in Northwestern’s name, without repercussions.

        156.   On October 26, 2023, President Schill and Provost Hagerty issued a

statement in which they admit, “We have heard from community members who feel

unsafe on our campuses and others who feel overwhelmed by the unfolding war in

the Middle East, making it difficult to focus on schoolwork, research,

instruction or common tasks.”88 The statement went on to note that “arguments or

slogans in support of a terrorist group that killed innocent civilians” are “harmful and

dehumanizing” and warned that “[i]t is not the time for incendiary postings or banners.”


87 https://northwestern.campuslabs.com/engage/organization/sjp (last accessed Aug. 2, 2024).


88 https://www.northwestern.edu/leadership-notes/2023/civility-during-conflict.html (last accessed May

13, 2024).


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But, consistent with its multi-year approach to antisemitism on campus, no actions were

taken. Just empty words.

       157.   Jewish students have repeatedly and publicly shared how discriminatory

and hostile the campus environment is, and how they feel unsafe moving about the

campus as Jews.

       158.   These statements include, but are not limited, to one Jewish Northwestern

student publicly stating: “I’m really overwhelmed. Honestly, I-I’m at a loss for words[.]…

I feel unsafe on my own campus, I feel uncomfortable. I feel unwelcome, and I don’t think

any university should allow students to feel that way.” This student reported that at least

one of her professors canceled class for the day, citing the encampment, and warned

students, “Take care of yourselves, and each other.”

       159.   Northwestern was aware of this and other public statements by Jews on

campus expressing fear and alarm at the anti-Jewish campus climate.

       160.   And this report and others like it are entirely consistent with the hostility

and harassment personally faced by Plaintiffs on campus solely due to their Jewish

identities.

Plaintiff Jane Doe’s experience

       161.   Jane Doe is a Jewish student in a graduate program at Northwestern, who

describes the campus atmosphere as lawless.

       162.   On Thursday, April 25, 2024, the director of the program in which Jane Doe

is enrolled announced that certain parts of the program would be closed for several days

because Northwestern could not guarantee the safety of those participating. As a result

of being advised of safety concerns, Jane Doe also missed out on a seminar that she chose

not to attend because her physical safety could not be guaranteed.

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      163.   Later that same day, Jane Doe was walking with a friend near the

encampment when she was accosted by a demonstrator wearing a surgical mask and a

keffiyeh. The woman struck Jane Doe’s friend with her protest sign and walked away.

      164.   The following day, when Jane Doe was walking near the encampment,

protesters screamed at her to “burn in hell.” As Jane Doe left the area near the

encampment, she was followed by the protesters.

      165.   In addition to the violent anti-Jewish incidents Jane Doe experienced

firsthand, she was aware of many other incidents on campus which contributed to the

overwhelming hostility she endured on campus.

      166.   Simply put, the encampment and its surroundings instantly became a place

of verbal and physical threats of violence for Jane Doe, and a site of antisemitic vitriol

directed at her; as a result, she is on heightened alert when walking around campus and

avoids certain campus areas and buildings where she does not feel safe.

Plaintiff John Doe 1’s Experience

      167.   John Doe 1 is a Jewish undergraduate student who has also been impacted

by Northwestern’s discriminatory enforcement of its own rules.

      168.   John Doe 1 heard hateful expressions when walking near the encampment

with his mother, who was visiting campus. This heightened John Doe 1’s apprehension

for his own safety on campus. John Doe 1 has previously been told on campus that Jewish

students “should go back to Europe, to Poland!”

      169.   In addition to the violent anti-Jewish incidents John Doe 1 experienced

firsthand, he was aware of many other incidents on campus which contributed to the

overwhelming hostility he endured on campus.




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       170.   Based on Northwestern’s response to the encampment, and the

antisemitism it features, John Doe 1 has concerns for his safety on campus. He is further

concerned that this will become a recurring pattern on campus every time the pro-Hamas

demonstrators wish to ratchet up demands on the administration. His concern was

exacerbated upon learning of Northwestern’s Agreement with, and appeasement of, the

demonstrators.

Plaintiff John Doe 2’s Experience

       171.   John Doe 2 is a Jewish graduate student attending the Kellogg School of

Management. As he walked near the encampment with several friends, a protestor

physically harassed one of the people in his friend group. Since then, John Doe 2 changes

where he walks on campus, and does not feel safe to traverse the grounds; since his group

of friends was physically threatened by the encampment, he has endeavored to avoid the

location altogether.

       172.   Indeed, after his group was harassed by a demonstrator, John Doe 2 learned

that one of the encampment demonstrators published a picture of John Doe 2 as he

walked near the encampment, in a derogatory and harassing online post.

       173.   In addition to the violent anti-Jewish incidents John Doe 2 experienced

firsthand, he was aware of many other incidents on campus which contributed to the

overwhelming hostility he endured on campus.

       174.   John Doe 2 made the decision to come to Kellogg because of its reputation

as a great school. As a result of Northwestern’s failure to enforce its policies as to the

encampment, today he freely acknowledges that had he known of the antisemitism he

would experience since arriving on campus, and of the fact that Northwestern faculty

would openly embrace and encourage attendance at the encampment, he would not have

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enrolled in Kellogg; indeed, he intends to counsel prospective Jewish students to go

elsewhere and he is contemplating transferring for next year to another school where the

administration enforces its rules and antisemitism is less prevalent.

Plaintiff John Doe 3’s Experience

       175.   John Doe 3 is a Jewish graduate student at Northwestern’s Weinberg

College of Arts & Science.

       176.   Since October 7th, John Doe 3 has had violent antisemitic rhetoric shouted

at him on multiple occasions.

       177.   On information and belief, John Doe 3’s picture, along with derogatory and

harassing comments, has been published and spread online by pro-Hamas demonstrators

on Northwestern’s campus. John Doe 3 has also been the subject of false accusations as a

form of retaliation, solely due to his Jewish identity.

       178.   Even after Northwestern capitulated to SJP and the Liberated Zone’s

protesters, John Doe 3 continued to experience antisemitism on campus. On May 1, 2024,

John Doe 3 was walking near the unauthorized “Strike for Gaza” demonstration when he

found a woman giving a lecture to a group of students. John Doe 3 recognized that there

were posters at the demonstration that stated “resistance is justified when people are

occupied. #AlAqsaFlood.” One woman organizing the demonstration wore a mask and

refused to state her name except to confirm that she was a Northwestern student. The

woman then repeated the phrase “resistance is justified when people are occupied,” which

John Doe 3 understood to be an acceptance of Hamas’ barbarism and call for further acts

of violence against Jews.




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       179.   In addition to the violent anti-Jewish incidents John Doe 3 experienced

firsthand, he was aware of many other incidents on campus which contributed to the

overwhelming hostility he endured on campus.

       180.   As a result of Northwestern’s actions and inactions as alleged herein, John

Doe 3 is anxious that a physical or verbal antisemitic incident can occur at any moment

on campus and is afraid that other students and faculty members might identify him as

Jewish and, as a result, target him because of his Jewish identity. When on campus, John

Doe 3 purposefully avoids certain areas, facilities, and programs due to heightened

antisemitism and hostility towards Jews in those locations. His ability to participate in

his education at Northwestern has suffered, and he is frequently unable to focus, study,

and perform his course work to the best of his ability.

       181.   Each of the Plaintiffs have thus suffered from the severe and pervasive

harassment on campus, and also suffer from the institutional normalization of violence

against Jews on and across Northwestern’s campuses.

       182.   As President Schill testified to Congress, “If you don’t feel safe, you cannot

learn.” Plaintiffs are also aware of the widespread calls for violence against Jews amongst

Northwestern’s faculty – both in Evanston and abroad. This culture of hatred – and one

that is rooted in Hamas’ call to kill Jews worldwide – has caused fear and anxiety in

Plaintiffs. Plaintiffs reasonably fear for their safety on campus, given that Northwestern

permits its faculty to support Hamas’ violence, permits students to justify or call for the

murder and rape of Jews in the name of “resistance” and “liberation” without

consequence, and actively employs individuals who openly support Hamas and, upon

information and belief, travel back and forth between Northwestern’s Qatar and Evanston

campuses.

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Class allegations

       183.   Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, on behalf of themselves and all others similarly situated.

       184.   Plaintiffs seek to represent a class defined as: All Jewish students enrolled

at Northwestern University in Evanston since the beginning of the 2023-2024 academic

year, who did not participate in the encampment.

       185.   The following people are excluded from the Class: (1) any judge presiding

over this action and members of their families; (2) persons who properly execute and file

a timely request for exclusion from the Class; (3) persons whose claims in this matter have

been finally adjudicated on the merits or otherwise released; and (4) the legal

representatives, successors and assigns of any such excluded persons.

       186.   This action is properly maintained as a class action because the class is so

numerous that joinder of all members is impracticable; there are questions of law or fact

that are common to the class; the claims of Plaintiffs are typical of the class claims; and

the named Plaintiffs will fairly and adequately protect the interests of the class.

       187.   There is a commonality of interest in the substantial questions of law and

fact concerning the class – specifically, whether Northwestern has a de facto policy of

relaxed enforcement of its codes of conduct and other relevant policies when it comes to

discrimination, harassment, or protection of Jewish students; whether Northwestern

tolerated a severe and hostile environment for its Jewish students; and whether Plaintiff

and the class are entitled to relief for Northwestern’s Title VI violations as alleged.

       188.   Plaintiffs will fairly and adequately protect the class member interests, and

there are no known conflicts of interest between Plaintiffs and the class members. The




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undersigned counsel has extensive experience litigating class actions and prosecuting

cases of this nature.

        189.   The claims asserted by Plaintiffs are also typical of the class members they

seek to represent, and common questions of law and fact predominate over any individual

issues and class action treatment will allow a large number of similarly situated students

to prosecute their breach of contract claims against Northwestern in an efficient manner

and without the need for duplicitous litigation, which will waste individual and judicial

resources.

                                       COUNT I
        (Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq.)

        190.   Plaintiffs reincorporate and re-allege Paragraphs 1-189 as if fully stated

here.

        191.   Plaintiffs bring this claim individually and on behalf of the Class.

        192.   Northwestern receives financial assistance from the U.S. Department of

Education and is therefore subject to suit under Title VI of the Civil Rights Act of 1964.

        193.   Plaintiffs are Jews and their status as Jews brings them within the scope of

Title VI’s protections.

        194.   Northwestern has an institutional, de facto, policy of ignoring its codes of

conduct, and campus violence prevention plan, when it comes to the protection of Jewish

students.

        195.   Northwestern permits its faculty to openly espouse threatening, violent, and

discriminatory rhetoric against Jews, without consequence. With other forms of hatred,

however, Northwestern takes a keener interest in applying its rules.




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      196.   Northwestern does not equally enforce its policies applicable to faculty

when Northwestern Qatar faculty openly promote or justify violence against Jews and

support Hamas, an anti-Jewish hate group.

      197.   Northwestern does not equally enforce its policies applicable to faculty

when Northwestern’s Illinois-based faculty openly promote or justify violence against

Jews and support Hamas, an anti-Jewish hate group.

      198.   Northwestern does not equally apply its policies applicable to student

organizations, student demonstrations, and student disruptions when those events cause

and contribute to Jewish students’ reasonably fearing for their safety on campus; when

the participants of those events assault and harass Jewish students; and when the

participants of those events display openly antisemitic slogans and posters.

      199.   Instead, when it comes to Jews, Northwestern pays lip service to its policies,

but does not actually enforce them.

      200. Northwestern has a tacit (if not explicit) understanding with the Qatari

government, and the leadership of Northwestern Qatar, that there is a tolerable quotient

of Jew-hatred permitted, and Northwestern refuses to implement its policies to curb

discriminatory conduct of its Northwestern Qatar faculty. This, combined with the role

Qatar plays globally, and via its state-sponsored media outlet Al Jazeera, results in an

unsafe campus for Jews at Northwestern, especially given the back-and-forth flow of

Northwestern Qatar’s faculty and students with Northwestern’s Illinois campuses.

      201.   Northwestern, either on its own, or in tandem with its Qatari counterparts,

has made a decision to take a lax approach to instances of antisemitism at Northwestern’s

campus, whereas it takes a more stringent and unequivocal approach to other forms of

discrimination and hatred.

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      202.   Though Northwestern is free to lend its name to, and be in close relationship

with, terror-supporting and Jew-hating institutions, it cannot do so while receiving

federal funding at the same time.

      203.   By enforcing its policies in one manner when it comes to Jewish students,

while enforcing them in another when it comes to all other protected classes,

Northwestern is engaged in discrimination prohibited by Title VI.

      204. This discrimination has deprived Plaintiff the benefits of Northwestern’s

program. Plaintiff has been made to suffer a harassing campus climate that is the direct

result of Northwestern’s lopsided and discriminatory policy enforcement.

      205.   In addition to (and as a consequence of) enacting this de facto

discriminatory policy of turning a blind eye to calls for violence against, and harassment

of Jews, Northwestern is also deliberately indifferent to severe and pervasive harassment

of Plaintiff and other Jewish students on campus.

      206. By tolerating the encampment for days on end (despite promises to the

contrary that it would take swift action), Northwestern permitted a cloud of antisemitism

to hover over the Evanston campus, and knowingly allowed Jewish students to suffer

physical abuse and verbal harassment until it could reach an accord with the encampment

participants who, luckily for the Jewish students, agreed to Northwestern’s terms (at least

for the time being). Northwestern subjected its Jewish students to the whims of their

antisemitic classmates, their safety predicated on the consent of those who openly justify

violence against them.

      207.   Northwestern not only showed a deliberate indifference towards its Jewish

students by allowing the encampment to continue for an extended period of time, it also

did so by emboldening the harassers; Jewish students thus have no reasonable

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expectation that their campus won’t erupt in antisemitic protest again and again,

whenever the “demonstrators” so choose.

       208. Northwestern’s faculty and students (including student organizations) who

fomented the hatred on campus have gone unpunished.

       209. Northwestern’s discriminatory policies and its resulting deliberate

indifference to the harassment of Jewish students on campus also manifests through

formal institutional channels. The Women’s Center promotes violence against Jews and

justifies Hamas’ “resistance” (including the rape of Jewish women); the Northwestern

library solicitated the encampment participants to donate to its archives to create a time

capsule of hate.

       210.   Instead of enforcing its formal institutional policies, Northwestern adheres

to an unspoken but no less real institutional policy that the targeting and hatred of Jews

is tolerable to a greater extent than other protected classes. Either the pervasive,

institutional, and violent antisemitism – or the federal funding – must come to an end.

                                           COUNT II
                                       Breach of Contract

       211.   Plaintiffs incorporate by reference, as if fully set forth herein, the allegations

set forth in Paragraphs 1-189 above.

       212.   Plaintiffs bring this claim individually and on behalf of the Class.

       213.   Illinois law recognizes that the relationship between a student and a college

is contractual in nature, and that the terms of student handbooks, university bulletins,

regulations, codes, policies, and procedures become part of that contract.

       214.   When Plaintiffs applied to Northwestern, they reviewed the school’s

brochures, catalogues, and other online materials to evaluate whether they wanted to pay


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for and participate in Northwestern’s programs. Through these documents and other

published materials made available to Plaintiffs, Northwestern made express and implied

contractual commitments concerning the campus environment, the opportunity for all

students to learn and thrive, and protections against abuse, harassment, intimidation,

and discrimination.

       215.   Specifically, Northwestern promised that campus conduct, generally, was

governed by rules and that students were required to comply with those rules:

              Remaining a member of the Northwestern community
              requires a student to continuously comply with policies
              governing students’ academic progress, social interactions,
              and personal behavior. As stated in one of the policies below,
              ‘Student status at Northwestern is a privilege earned by
              meeting standards of academic performance and adherence
              to policies governing conduct.’

Northwestern’s              Student               Handbook,               pg.        7

(https://www.northwestern.edu/communitystandards/student-handbook/final-23-24-

student-handbook.pdf) (last accessed May 1, 2024).

       216.   The Student Handbook goes on to make clear that Northwestern would

enforce its rules:

              The exercise of individual rights by students and other
              members of the Northwestern community may not abridge
              the following rights, subject, in appropriate circumstances, to
              the University’s right to take actions to protect the health and
              safety of the University community and its members, guests,
              and visitors…The right of the University to take actions
              reasonably determined to secure the rights outlined above
              and to assure that students, faculty, and staff may pursue their
              legitimate goals on University premises or at University
              functions without interference.

Student Handbook, pp. 7-8.




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      217.   In the Student Handbook, Northwestern also shares its “policy statement”

on “Student Rights and Responsibilities” by noting that:

             At Northwestern University, life outside the classroom is an
             integral part of the educational process…The student’s
             awareness of the extent of their rights and responsibilities is
             necessary to the exercise of responsibility within the
             University community. To further these objectives and in
             recognition of students as members of the Northwestern
             University community, the University has adopted the
             following statement of policy:

             1. Northwestern University does not discriminate or permit
             discrimination by any member of its community against any
             individual on the basis of race, color, religion, national
             origin…in the educational programs or activities
             Northwestern operates…” […]

             12. Students are free to use campus facilities for meetings of
             recognized student organizations, subject to policies as to
             time and manner governing the facility. […]

             15. Students are free to assemble, to demonstrate, to
             communicate, and to protest, recognizing that freedom
             requires order, discipline, and responsibility and further
             recognizing the right of all faculty and students to pursue their
             legitimate goals without interference. […]

             18. it is recognized that every member of the community has
             the responsibility to conduct themselves in a manner that
             does not violate the rights and freedoms of others and has the
             responsibility to recognize the principles within this
             statement of policy.

      218.   The Student Handbook also reflects that student organizations are subject

to codes of conduct, too:

             Groups of students and recognized student organizations
             (here after referred to as “organizations”) are expected to
             comply with all University policies, including the Student
             Code of Conduct and all additional policies pertaining to
             groups and organizations.

      219.   Northwestern also claimed to prohibit disorderly conduct, which its Student

Handbook defines as including “engaging in behavior that objectively prevents a student

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or group of students from benefiting from a class, program or activity,” and “significantly

interfering with the functioning of the University.” (Student Handbook, pg. 29).

       220. In its policy on “Civility, Mutual Respect, and Unacceptability of Violence

on Campus,” Northwestern indicates that it prohibits “demeaning, intimidating,

threatening, or violent behaviors that affect the ability to learn, work, or live in the

University environment.” “These behaviors,” Northwestern promises, “have no place in

the academic community.” Northwestern promises that “a community member who has

violated this policy is subject to disciplinary action…” (Student Handbook, pp. 78-79)

       221.      Northwestern’s Title IX policies also prohibit discrimination and

harassment. Northwestern defines “Discrimination” as “treating someone differently

because of their race, color, religion, creed, national origin, [and] ethnicity,” and

“Harassment” as “verbal or physical conduct…that has the purpose or effect of

substantially interfering with, limiting, or depriving a member of the community from

accessing     or    participating   in   the   academic…environment     [or]   creating   an

academic…environment that a reasonable person would consider to be intimidating,

hostile,    or     offensive.”   (https://www.northwestern.edu/civil-rights-office/policies-

procedures/policies/policy-on-discrimination-harassment-and-sexual-misconduct.pdf)

(Northwestern’s Title IX policy).

       222.      Northwestern’s promises that the university is a place of civility that is

governed in accordance with clearly communicated rules was an essential term of the

contract between Plaintiffs, the Class, and Northwestern.

       223.      Students like Plaintiffs and the Class took and continue to take

Northwestern’s commitments regarding the governance of the campus environment




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seriously when deciding whether to pay tuition, enroll in, and continue to attend

Northwestern.

       224.   Northwestern specifically emphasizes its commitments in its publicly

available materials and claims to pride itself on adhering to these values. By choosing

Northwestern, Plaintiffs and the Class bargained for a campus environment that was

governed by codes of conduct rather than mob rule. And they certainly did not bargain

for the open, proud, and flowing efforts to intimidate Jewish community members on

campus.

       225.   By allowing the above described uncontrolled, hateful, and dangerous

conduct of students, faculty, staff, and unaffiliated persons on campus without

consequence, Northwestern failed to provide a safe campus environment governed by its

own rules and therefore breached its contractual obligations.

       226.   Moreover, by negotiating with and capitulating to SJP and other “Liberated

Zone” demonstrators, Northwestern explicitly acknowledged its own breaches, and

actively invited future lawless activities by rewarding them. In other words,

Northwestern’s entire course of action has all but guaranteed that the harassment of Jews

on campus will continue.

       227.   Northwestern also has breached the implied covenant of good faith and fair

dealing in every contract with Plaintiffs, by unfairly applying Northwestern’s policies and

procedures in a discriminatory way, improperly motivated by racial, national origin,

shared ancestry, and ethnic characteristics bias. Northwestern exercised broad discretion

in how—not if—it enforced the policies described above and protected Jewish students

from a hostile educational environment, and Plaintiffs and the Class relied on

Northwestern to exercise reasonable care when enforcing its own policies.

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       228.   Had Plaintiffs known that Northwestern would utterly fail to enforce any of

its policies, Plaintiffs would not have chosen to enroll at Northwestern or pay it tens of

thousands of dollars in tuition.

       229.   Plaintiffs complied with their obligations under their agreement with

Northwestern.

       230.   As a direct, proximate, and foreseeable consequence of the foregoing

breaches, Plaintiffs have been injured and continue to sustain injury.

       WHEREFORE, Plaintiffs, on behalf of themselves and the Class, respectfully

request that this Court enter an order:

       A.     Certify this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure; declaring that Plaintiffs are proper Class representatives; and

appointing Plaintiffs’ counsel as Class Counsel;

       B.     Declaring that Northwestern’s actions, as alleged herein, violate Title VI and

constitute a breach of contract;

       C.     Award Plaintiffs and Class members compensatory and punitive damages

in an amount to be determined at trial;

       D.     Order appropriate injunctive and other equitable relief as necessary to

protect the interests of the Class, including enjoining Northwestern from establishing,

implementing, instituting, maintaining, or executing policies, practices, procedures, or

protocols that penalize or discriminate against Jewish students including Plaintiffs, in any

way, and ordering Northwestern to take all necessary and appropriate remedial and

preventive measures, such as the following: (i) investigate and take disciplinary measures,

including termination, against deans, administrators, professors, and other employees

responsible for the antisemitic abuse permeating Northwestern leading to the intolerable

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hostile environment, whether because they engaged in or permitted it; (ii) investigate and

take disciplinary measures, including suspension or expulsion, against students and

student organizations who engaged in such conduct; (iii) implement required

antisemitism training for Northwestern community members; (iv) investigate all

instances of antisemitism that occurred during Northwestern’s 2023-2024 academic

year; and (v) appoint a neutral expert monitor to oversee compliance with this Court’s

order, Northwestern anti-discrimination and -harassment policies, and Title VI.

      E.     Award Plaintiffs the costs and disbursements of the action, along with

reasonable attorneys’ fees, costs, and expenses;

      F.     Award pre- and post-judgment interest at the maximum legal rate; and

      G.     Grant such other and further relief as this Court deems appropriate.


Demand For Jury Trial

      Plaintiffs demand a jury trial on all claims so triable.




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                                    Respectfully submitted,

                                    JANE DOE, JOHN DOE 1, JOHN DOE 2,
                                    and JOHN DOE 3, individually and
                                    on behalf of all other students similarly situated

By: /s/ Elizabeth A. Fegan ______   By:    /s/ Steven P. Blonder

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